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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
                                                                       :                10/16/2020
R.G., individually and on behalf of E.G., a child with a :
disability,                                                            :
                                                                       :
                                    Plaintiffs,                        :     18-CV-12119 (JPC)
                                                                       :
                  -v-                                                  :       NOTICE OF
                                                                       :     REASSIGNMENT
NEW YORK CITY DEPARTMENT OF EDUCATION, :
                                                                       :
                                    Defendant.                         :
                                                                       :
---------------------------------------------------------------------- X

JOHN P. CRONAN, United States District Judge:

        This case has been reassigned to the undersigned. Unless and until the Court orders

otherwise, all prior orders, dates, and deadlines shall remain in effect notwithstanding the case’s

reassignment. Any conference or oral argument before the Magistrate Judge will proceed as

ordered. All counsel must familiarize themselves with the Court’s Individual Rules, which are

available at https://www.nysd.uscourts.gov/hon-john-p-cronan.

        SO ORDERED.

Dated: October 16, 2020                                    __________________________________
       New York, New York                                           JOHN P. CRONAN
                                                                  United States District Judge
